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 5
 6                         IN THE UNITED STATES DISTRICT COURT
 7                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
                                                    )
 9   UNITED STATES OF AMERICA,                      )   Case No.: 2:15-cr-00177-GEB
10                                                  )
                   Plaintiff,                       )   DEFENDANT’S STIPULATION AND
11                                                  )   [PROPOSED] ORDER
            vs.                                     )
12                                                  )   Date: June 23, 2017
     JASON MATECKI,                                 )   Time: 9:00 a.m.
13                                                  )   Judge: Garland E. Burrell, Jr.
14                 Defendant.                       )
                                                    )
15
16          IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
17   Judgment and Sentencing scheduled for May 5, 2017, is continued to June 23, 2017 at
18   9:00 a.m. in the same courtroom. Defendant needs additional time to prepare for
19   sentencing. Kevin Khasighian, Assistant United States Attorney, and Thomas A.
20   Johnson, Defendant’s attorney, agree to this continuance. The PSR schedule is amended
21   as follows:
22
     Judgment and Sentencing date:                               June 23, 2017
23
24
     Reply or Statement                                          June 16, 2017
25
     Motion for Correction of the Pre-Sentence
26   Report shall be filed with the court and                    June 9, 2017
27   served on the Probation Officer and opposing
     counsel no later than:
28


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 1   IT IS SO STIPULATED.
 2
 3
     DATED: April 19, 2017                    By:    /s/ Thomas A. Johnson
 4                                                   THOMAS A. JOHNSON
                                                     Attorney for Jason Matecki
 5
     DATED: April 19, 2017                           PHILLIP A. TALBERT
 6                                                   United States Attorney
 7                                             By:   /s/ Kevin Khasigian
                                                     KEVIN KHASIGHIAN
 8                                                   Assistant United States Attorney
 9   IT IS SO ORDERED.
10
     Dated: April 20, 2017
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